  AO 435              Case 23-00645 Document 187 Filed in TXSB on 07/19/24 Page 1 of 1
(Rev. 04/18)
                                                ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                 FOR COURT USE ONLY

                                                                                                                  DUE DATE:
                                                             TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                          2. PHONE NUMBER                  3. DATE
David J. Beck                                                                    (713) 951-3700                   7/19/2024
4. '(/,9(5< ADDRESS25(0$,/                                                     5. CITY                          6. STATE         7. ZIP CODE
dbeck@beckredden.com                                                             Houston                          TX               77010
8. CASE NUMBER                               9. JUDGE                                               DATES OF PROCEEDINGS
23-00645                                     Eduardo V. Rodrigez                 10. FROM 7/16/2024            11. TO 7/16/2024
12. CASE NAME                                                                                     LOCATION OF PROCEEDINGS
Professional Fee Matters Concerning the Jackson Walker L                         13. CITY Houston              14. STATE TX
15. ORDER FOR
u APPEAL                                     u CRIMINAL                          u CRIMINAL JUSTICE ACT               u BANKRUPTCY
u NON-APPEAL                                 u CIVIL                             u IN FORMA PAUPERIS                  u OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                    DATE(S)                         PORTION(S)                         DATE(S)
u VOIR DIRE                                                                      u TESTIMONY (Specify Witness)
u OPENING STATEMENT (Plaintiff)
u OPENING STATEMENT (Defendant)
u CLOSING ARGUMENT (Plaintiff)                                                   u PRE-TRIAL PROCEEDING (Spcy)
u CLOSING ARGUMENT (Defendant)
u OPINION OF COURT
u JURY INSTRUCTIONS                                                              u OTHER (Specify)                Hearing transcript
u SENTENCING
u BAIL HEARING
                                                                            17. ORDER
                            ORIGINAL                             ADDITIONAL
 CATEGORY           (Includes Certified Copy to     FIRST COPY                          NO. OF PAGES ESTIMATE                    COSTS
                  Clerk for Records of the Court)
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                     CERTIFICATION (18. & 19.)
           By signing below, I certify that I will pay all charges                         ESTIMATE TOTAL
                        (deposit plus additional).                                                                $              0.00 0.00
18. SIGNATURE                                                                    PROCESSED BY
/s/ David J. Beck
19. DATE                                                                         PHONE NUMBER
7/19/2024
TRANSCRIPT TO BE PREPARED BY                                                     COURT ADDRESS




                                                      DATE             BY
ORDER RECEIVED

DEPOSIT PAID                                                                     DEPOSIT PAID

TRANSCRIPT ORDERED                                                               TOTAL CHARGES                    $              0.00 0.00

TRANSCRIPT RECEIVED                                                              LESS DEPOSIT                     $              0.00 0.00
ORDERING PARTY NOTIFIED
TO PICK UP TRANSCRIPT                                                            TOTAL REFUNDED

PARTY RECEIVED TRANSCRIPT                                                        TOTAL DUE                        $              0.00 0.00
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